                              McPhersonQuarter Horses
                                 Jack C. McPherson
                                934 Knob Park Road
                                  Bristol,TN.37620
                                    423-878-3801
                                     Jan.2.2010

      Reft Robert Mark McPherson

   To whom it may concern:

   Robert Mark McPhersonis my younger brother. I was 15 years old when he was
  born, so I have basically been an adult figure for him his entire life.
   Mark has worked with me in the horseworld all of his life. Although he has not
  worked the entire time with horses,he always returns to them. He has a tremendous
  amount of talent and ability in the equineworld and is very capableof making a
  living in this field.
    Mark also has the knowledgeand experienceto do all fypes of farm work, and has
  done them for me over the years.
    As my equine businessand my farming operation has expandedover the years and
  I get older and slower I have a tremendousneedfor his help.
    Our mother is 87 years old and not in excellenthealth. I fear that she may never
  seehim again. It would also be a great assetto have his help in caring for her.
   I realizethat he had a drug problem that required action, and he must pay his debt
  for it. I do not have a lot of knowledgeon this phaseof his life. When he was
  involvedwith drugs he stayedaway from me. I do not use,believein, or tolerate
  illegal drugs around me. Therefore Mark stayedaway from me when he was
  involved with drugs.
   If I can provide any additional information, or if you would like to discussany of
  this information with me, pleasedo not hesitateto contactme at any time.

                                               Sincerely.              1 /
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                                               "l/cf< C. McPherson




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